312 F.2d 749
    63-1 USTC  P 9194
    The 12701 SHAKER BOULEVARD COMPANY, Petitioner,v.COMMISSIONER OF INTERNAL REVENUE, Respondent.
    No. 14755.
    United States Court of Appeals Sixth Circuit.
    Jan. 11, 1963.
    
      Petition to review a decision of the Tax Court of the United States.
      Robert L. Merritt, Cleveland, Ohio (Edward Ginsberg, Wilton S. Sogg, Gottfried, Ginsberg, Guren &amp; Merritt, Cleveland, Ohio, on the brief), for petitioner.
      David I. Granger, Dept. of Justice, Washington, D.C.  (Louis F. Oberdorfer, Asst. Atty. Gen., Lee A. Jackson, Harold C. Wilkenfeld, Attys., Dept. of Justice, Washington, D.C., on the brief), for respondent.
    
    
      1
      Before CECIL, Chief Judge, WEICK, Circuit Judge, and BOYD, District Judge.
    
    ORDER.
    
      2
      This cause came on to be heard on briefs, oral arguments of counsel and the entire record in the case;
    
    
      3
      AND IT APPEARING from due consideration of which that the decision of the Tax Court of the United States, reported at 36 T.C. 27 and from which this petition for review is taken, correctly treats and disposes of the issues herein;
    
    
      4
      IT IS HEREBY ORDERED that the decision of the Tax Court be and the same is hereby affirmed upon the reasoning and authorities set out in its opinion.
    
    